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                                       EXHIBIT 1


                                  Proposed Revised Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                        )
In re:                                  )                         Chapter 11
                                        )
CENTER CITY HEALTHCARE, LLC d/b/a       )                         Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et al., )
                                      1

                                        )
                    Debtors.            )                         Jointly Administered
                                        )
                                        )                         Related to Docket Nos. 2045 and ____


    ORDER SUSTAINING DEBTORS’ FOURTH OMNIBUS OBJECTION TO CLAIMS
  (SUBSTANTIVE) PURSUANT TO SECTIONS 502(b) AND 503 OF THE BANKRUPTCY
     CODE, BANKRUPTCY RULES 3001, 3003, AND 3007, AND LOCAL RULE 3007-1

         Upon consideration of the Debtors’ Fourth Omnibus Objection to Claims (Substantive)

  Pursuant to Sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules 3001, 3003, and

  3007, and Local Rule 3007-1 (the “Objection”),2 by which the Debtors request the entry of an

  order pursuant to sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules 3001, 3003,

  and 3007, and Local Rule 3007-1, disallowing the No Liability Claims set forth on Exhibit A

  attached hereto and modifying the Misclassified Claims, the Modified Amount and Classification

  Claims and the Modified Amount Claims set forth on Exhibits B, C and D attached hereto; and

  upon consideration of the Wilen Declaration; and it appearing that the Court has jurisdiction over

  this matter pursuant to 28 U.S.C. §§ 157 and 1334; and due and adequate notice of the Objection

  having been given under the circumstances; and sufficient cause appearing therefor,


  1      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
         are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
         Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
         L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
         L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
         L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
         IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 North Broad
         Street, 4th Floor, Philadelphia, Pennsylvania 19102.
  2      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Objection.
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             IT IS HEREBY ORDERED THAT:

             1.         The Objection is sustained as set forth herein.

             2.         The No Liability Claims set forth on the attached Exhibit A under the heading

“Claim No.” are hereby disallowed in their entirety.

             3.         The Misclassified Claims are modified to reflect the correct priority status of the

claims (or portions of the claims) as reflected under the heading “Modified Priority Status” on the

attached Exhibit B.

             4.         The Modified Amount and Classification Claims are modified to reflect the correct

priority status of the claims (or portions of the claims) and the correct amount as reflected under

the heading “Modified Claim Amount ($) and Priority Status” on the attached Exhibit C.

             5.         The Modified Amount Claims are modified to reflect the correct amount as

reflected under the heading “Modified Claim Amount ($)” on the attached Exhibit D.

             6.         The Claims Agent is authorized and directed to modify the Claims Register for

these Chapter 11 Cases in accordance with the terms of this Order.

             7.         To the extent that a response is filed regarding any Disputed Claim listed in the

Objection and the Debtors are unable to resolve the response, each such Disputed Claim, and the

Objection by the Debtors to each such Disputed Claim, shall constitute a separate contested matter

as contemplated by Bankruptcy Rule 9014.

             8.         Any order entered by the Court regarding the Objection shall be deemed a separate

order with respect to each Disputed Claim.

             9.         This Order is without prejudice to the rights of the Debtors and any successor

entities to: (a) object to any Claims on grounds other than as stated in the Objection if any such




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Claim is reconsidered; and (b) object, on any grounds permitted by law or equity, to any claim,

whether filed or not, in these cases.

             10.        The rights of the Debtors and any successor entities to use any available defenses

under section 502 of the Bankruptcy Code, including the assertion of a preference action to set off

against or otherwise reduce all or part of any Claim, are preserved.

             11.        Any stay of this Order pending appeal by any claimant shall only apply to the

contested matter that involves the claimant’s specific claim and shall not stay the applicability

and/or finality of this Order with respect to all other affected claims.

             12.        To the extent that the Objection does not comply in all respects with the

requirements of Local Rule 3007-1, the requirements of Local Rule 3007-1 are waived.

             13.        The Court shall retain jurisdiction over all affected parties with respect to any

matters, claims or rights arising from or related to the implementation and interpretation of

this Order.




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                        Exhibit A



                    No Liability Claims
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                                                                                  No Liability Claims
                                  Debtor                                               Filed Claim Amount ($)
                                  Against
                        Claim
    Creditor Name                 Whom
                         No.                      Priority        Secured           503(b)(9)     Admin.        Unsecured          Total          Reason for Disallowance
                                  Claim is
                                   Filed
                                                                                                                                            The asserted claim is not reflected in
                                                                                                                                            the Debtors' books and records and no
                                Center City                                                                                                 documentation in support of the claim
1     Childs, Michael    928    Healthcare,      $1,500.00    $1,000,000,000.00         -            -               -         $1,500.00    has been provided. Claim is also
                                   LLC                                                                                                      subject to further objection on other
                                                                                                                                            grounds (see Exhibit C (Modified
                                                                                                                                            Amount and Classification Claims)).
                                     St.                                                                                                    The asserted claim is not reflected in
                                Christopher’s                                                                                               the Debtors' books and records and no
2     Nguzen, Francis    247                     $5,000.00            -             $5,000.00                        -         $5,000.00
                                 Healthcare,                                                                                                documentation in support of the claim
                                    LLC                                                                                                     has been provided.
                                                                                                                                            The asserted claim was satisfied in
                                                                                                                                            connection with the assumption of the
         Perinatal              Center City
                                                                                                                                            Perinatal Cardiology Services
3       Cardiology       27     Healthcare,      $10,900.85           -             $7,204.04        -               -         $10,900.85
                                                                                                                                            Agreement through the payment of the
        Consultants                LLC
                                                                                                                                            cure amount of $10,900.85 on
                                                                                                                                            12/16/2020.
                                                                                                                                            Claimant's claim was satisfied upon
                                                                                                                                            the assumption and assignment of the
                                                                                                                                            Agreement for Eligibility Verification
                                Philadelphia
                                                                                                                                            and Revenue Cycle Services to STC
        RealMed                  Academic
4                        11                          -                -            $13,534.10        -          $108,281.92   $121,816.02   OpCo, LLC with a $0.00 cure amount,
       Corporation                 Health
                                                                                                                                            as reflected in Docket No. 1219.
                                System, LLC
                                                                                                                                            Claim is also subject to further
                                                                                                                                            objection on other grounds (see
                                                                                                                                            Exhibit B (misclassified)).
                                                                                                                                            Claimant's claim was satisfied upon
                                Philadelphia                                                                                                the assumption and assignment of the
       Rydal Square,             Academic                                                                                                   lease agreement to STC OpCo, LLC
5                         2                          -                -                 -        $30,781.08     $37,562.35     $68,343.43
           L.P.                    Health                                                                                                   with a $8,117.41 cure amount, as
                                System, LLC                                                                                                 reflected in Docket No. 1219, which
                                                                                                                                            amount was paid on 12/16/2020.
                                                                                                                                            Claimant's claim was satisfied upon
                                     St.                                                                                                    the assumption and assignment of the
       Rydal Square,            Christopher's                                                                                               lease agreement to STC OpCo, LLC
6                         4                          -                -                 -        $30,781.08     $37,562.35     $68,343.43
           L.P.                  Healthcare,                                                                                                with a $8,117.41 cure amount, as
                                    LLC                                                                                                     reflected in Docket No. 1219, which
                                                                                                                                            amount was paid on 12/16/2020.
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                                                                                                                            The claim does not assert any liability.
                                   Philadelphia
                                                                                                                            The Debtors' books and records do not
                                    Academic
  7      Sloan, Germaine     96                      -         -           -          -              -             $0.00    reflect a claim for this claimant. No
                                      Health
                                                                                                                            documentation in support of the claim
                                   System, LLC
                                                                                                                            has been provided.
                                   Philadelphia
                                                                                                                            Debtor does not have any further
                                    Academic
  8        Stericycle, Inc   67                      -         -           -          -         $264,042.70   $264,042.70   liability to claimant pursuant to court
                                      Health
                                                                                                                            approved stipulation at D.I. 1656.
                                   System, LLC
                                   Center City                                                                              Debtor does not have any further
  9        Stericycle, Inc   311   Healthcare,       -         -           -          -          $7,000.60     $7,000.60    liability to claimant pursuant to court
                                      LLC                                                                                   approved stipulation at D.I. 1656.




                                                                               2
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                         Exhibit B



                    Misclassified Claims
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                                                                                           Misclassified Claims
                                                              Filed Claim Amount ($) and Priority Status                                Modified Priority Status
                                Debtor against
    Creditor
                    Claim No.   Whom Claim                                                                                                                                              Reason for Modification
     Name                                         Priority      Secured     503(b)(9)    Unsecured         Total      Priority   Secured    503(b)(9)    Unsecured      Total
                                   is Filed

                                                                                                                                                                                    Claimant’s support for section
                                      St.                                                                                                                                           507(a)(2) priority claim is based
      Bacterin                                                                                                                                                                      on its section 503(b)(9) claim.
                                 Christopher's
1   International     675
                                  Healthcare,
                                                 $20,560.00         -      $20,560.00    $6,120.00     $47,240.00        -          -      $20,560.00     $26,680     $47,240.00    Claimant is not entitled to two
         Inc                                                                                                                                                                        separate priority statuses for the
                                     LLC
                                                                                                                                                                                    same claim.
                                                                                                                                                                                    Claimant is not entitled to assert
                                                                                                                                                                                    a priority wage claim under
                                 Philadelphia                                                                                                                                       section 507(a)(4). Claim is for
     Holland
                                  Academic                                                                                                                                          fees allegedly owed under
2     Square          114
                                Health System,
                                                 $13,650.00         -                   $518,298.30    $531,948.30       -          -           -       $531,948.30   $531,948.30
                                                                                                                                                                                    services agreement, under which
    Group, LLC
                                     LLC                                                                                                                                            the claimant is responsible for
                                                                                                                                                                                    paying wages to its employees,
                                                                                                                                                                                    not the Debtors.
                                                                                                                                                                                    Not entitled to an administrative
                                                                                                                                                                                    claim under section 503(b)(9)
                                 Philadelphia
                                                                                                                                                                                    because claim is based on
     RealMed                      Academic
3
    Corporation
                       11
                                Health System,
                                                     -              -      $13,534.10   $108,281.92    $121,816.02       -          -           -       $121,816.02   $121,816.02   services. Claim is subject to
                                                                                                                                                                                    further objection on other
                                     LLC
                                                                                                                                                                                    grounds (see Exhibit A (no
                                                                                                                                                                                    liability)).
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                         Exhibit C



          Modified Amount and Classification Claims
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                                                                 Modified Amount and Classification Claims
                                                            Filed Claim Amount ($) and Priority Status                         Modified Claim Amount ($) and Priority Status
    Creditor     Claim     Debtor against
     Name         No.    Whom Claim is Filed                               503(b)(    Admi    Unsecur                 Priori      Secur    503(b)(   Admi    Unsecur                   Reason for
                                                Priority     Secured                                        Total                                                          Total
                                                                             9)        n.       ed                      ty         ed        9)       n.       ed                      Modification

                                                                                                                                                                                    Not entitled to
                                                                                                                                                                                    section 503(b)(9)
                                                                                                                                                                                    status since no
                                                                                                                                                                                    evidence that goods
                                                                                                                                                                                    were received
                                                                                                                                                                                    within the 20-day
                                                                                                                                                                                    period before the
      Cardinal
                                                                                                                                                                                    Petition Date.
       Health                Center City        $36,838.                   $36,838.           $32,639.     $111,463                                          $106,315    $106,315
1                 887                                       $5,148.53                   -                               -           -         -        -                            Debtors’ books and
        414,               Healthcare, LLC        19                         19                 08           .99                                               .46         .46
                                                                                                                                                                                    records do not
        LLC
                                                                                                                                                                                    support any other
                                                                                                                                                                                    priority status. As
                                                                                                                                                                                    agreed with
                                                                                                                                                                                    claimant, total claim
                                                                                                                                                                                    amount is reduced
                                                                                                                                                                                    by secured claim
                                                                                                                                                                                    amount.
                                                                                                                                                                                    Debtors' books and
                                                                                                                                                                                    records do not
                                                                                                                                                                                    support a secured
                                                                                                                                                                                    claim or a priority
      Childs,                Center City        $1,500.0   $1,000,000,00                                   $1,500.0                                          $1,500.0    $1,500.0   claim. Claim is also
2                 928                                                         -         -         -                     -           -         -        -
      Michael              Healthcare, LLC         0           0.00                                           0                                                 0           0       subject to further
                                                                                                                                                                                    objection on other
                                                                                                                                                                                    grounds (see
                                                                                                                                                                                    Exhibit A (no
                                                                                                                                                                                    liability)).
                                                                                                                                                                                    Claim is not entitled
                                                                                                                                                                                    to section 503(b)(9)
                                                                                                                                                                                    status since there is
                                                                                                                                                                                    no evidence that
                                                                                                                                                                                    goods were
        Sun
                                                                                                                                                                                    received by the
      Nuclear                Center City                                   $13,463.                        $13,463.                                          $1,211.0    $1,211.0
3                 650                              -             -                      -         -                     -           -         -        -                            Debtors within the
      Corporat             Healthcare, LLC                                   00                              00                                                 0           0
                                                                                                                                                                                    20-day period
        ion
                                                                                                                                                                                    before the Petition
                                                                                                                                                                                    Date. Claim amount
                                                                                                                                                                                    also reduced based
                                                                                                                                                                                    on Debtors' books
                                                                                                                                                                                    and records.
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                          Exhibit D



                    Modified Amount Claims
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                                                                              Modified Amount Claims
                              Debtor                          Filed Claim Amount ($)                                                  Modified Claim Amount ($)
                              against
    Creditor         Claim
                              Whom                                Section                                                      Section                                     Reason for
     Name             No.                   Priority   Secured               Unsecured       Total       Priority   Secured                 Unsecured      Total
                              Claim is                           503(b)(9)                                                    503(b)(9)                                    Modification
                               Filed
                                                                                                                                                                       Claim amount
                             Center City                                                                                                                               reduced to reflect
    Solid Waste
1                     391    Healthcare,       -          -          -       $296,299.30   $296,299.30      -          -          -        $151,051.61   $151,051.61   Debtors' books and
    Services Inc.
                                LLC                                                                                                                                    records.
                             Philadelphia                                                                                                                              Claim amount
                              Academic                                                                                                                                 reduced to reflect
    ThyssenKrupp
2                      5       Health          -          -          -       $342,294.83   $342,294.83      -          -          -        $341,946.93   $341,946.93   Debtors’ books and
    Elevator Corp.
                               System,                                                                                                                                 records.
                                 LLC
